Case 1:10-cr-00251-JRH-BKE Document 842 Filed 04/23/12 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

TITO HATCHER,

                Petitioner,

        V.                                        CV 111-190
                                                  (Formerly CR 110-251)
UNITED STATES OF AMERICA,

                Respondent.


                                         ORDER


        After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed.' Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, the instant motion to vacate, set aside, or correct Petitioner's sentence

is DISMISSED.2

        Further, a federal prisoner must obtain a certificate of appealability ("COX') before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11 (a) to the Rules


       'Petitioner requested an extension of time in which to file objections, and the
Magistrate Judge granted his request in part, extending the objection deadline to April 9,
2012. (Doc. nos. 6, 7.) However, Petitioner failed to file objections by the extended
deadline.

        2 The instant motion is styled as a "Motion for Re-Sentence Instanter." (Doc. 110. 1.)
In accordance with the requirements of Castro v. United States, 540 U.S. 375, 377 (2003),
the motion was recharacterized as a motion under 28 U.S.C. § 2255 to vacate, set aside, or
correct Petitioner's sentence.        doc. nos. 2-4.)
Case 1:10-cr-00251-JRH-BKE Document 842 Filed 04/23/12 Page 2 of 2



Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing ofthe denial of constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, a COA is DENIED in this case.'

Moreover, because there are 110 non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, this civil action is CLOSED.

       SO ORDERED thiy of April, 2012, at Augusta, Georgia.




                                                BLE J. RADAL HALL
                                                STATES DISTRICT JUDGE
                                                RN DISTRICT OF GEORGIA




        "'If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
11 (a) to the Rules Governing Section 2255 Proceedings.
